Case 1:18-CV-01982-TWT Document 4 Filed 05/17/18 Page 1 of 5

IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE NOTI-IERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BRIDGET WRIGHT, LAQUITA
SMITH, individually and as Co»
Administrators of the ESTATE OF
ROBERT L. AVERY, SR.,
(deceased),

CIVIL ACTION FILE NO.:
1 :18-cv-01982-TWT

Plaintiffs,
v.

EMORY HEATHCARE, INC.,
EMORY CLINIC, INC., EMORY
UNIVERSITY, INC., JOHN VEGA,
M.D., JASON MUESSE, M.D.,
BARRY ANDERSON, P.A.,
KENNETH OI)IMGBE, RRT,
CHOREEN POWELL, RN,
MANJU CHBI, RN, JOHN DOE
PHYSICIANS 1-3, JANE DOE
NURSES 1-3, JANET DOE
HEALTHCARE PROVIDERS 1-3;
XYZ CORPORATIONS 1-3,

\`/\_/\J\_/\_/\_/\/\-/\_/\-/\.J\_/\_/\_/WW\_/\_/\_/\_/\_/\_/

Defendants.

 

PLAINTIFF’S FIRST AMENDED COMPLAINT
COMES NOW, P}aintiffs BRIDGET WRIGHT, LAQUITA SMITH,

individually and as CO-Administrators cf the ESTATE OF ROBERT L. AVERY,

Case 1:18-CV-01982-TWT Document 4 Filed 05/17/18 Page 2 of 5

SR., (deceased), and file this Amended Complaint for Malpractice against
Defendants and shows this Honorable Court the following:
26.

Attached as Exhibit “l_” is Plaintii`f’s original Complaint alleging, amount
other things, medical malpractice Accordingly, the Plaintiff incorporates by
referenced Paragraphs l - 25 of the original Cornplaint as if fully set forth herein.

27 .

The original Complaint Was filed on April 4, 2018, Within ten (10) days of a
good faith belief of an expiration of the applicable medical malpractice statute of
iimitations.

28.

Plaintiffs’ counsel and law firm Were hired within ninety (90) days of the
potential expiration of a statute of limitations, sworn as such in the original
complaint

29.

Pursuant to O.C.G.A. §9-11-9.1(B)Plaintiffs are entitled to a Forty-Five (45)

day extension, through and including l\/lay 21, 2018, to file an affidavit of a qualified

expert alleging one act of negligence against each Defendant.

Case 1:18-CV-01982-TWT Document 4 Filed 05/17/18 Page 3 of 5

30.
Attached hereto as Exhibit “A” is the affidavit of J ames Shaffer, MD, a duly
qualified expert asserting at least one act of negligence against each I)efendant filed
before May 21, 201 8. Accordingly, the requirements of O.C.G.A. § 9-l l-9.l have

been met. ¢v/
This Z'fZ day of May 2018.

Respectfully submitted,

/s/ lane Marv Lamberti
lane Mary Lamberti, Esq.
State Bar No. 432025
Gary Andrews, Esq.

State Bar No. 019299

Attorneys for the Plainz‘@ffs
The Cochran Firm Atlanta
100 Peachtree Street NW, Suite 2600
Atlanta, GA 303 03
(404) 222~9922 (tel)
(404) 222-0170 (fax)

Case 1:18-CV-01982-TWT Document 4 Filed 05/17/18 Page 4 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE NOTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BRIDGET WRIGHT, LAQUITA
SMITH, individually and as Co-
Administrators of the ESTATE OF
ROBERT L. AVERY, SR.,
(deceased),

CIVIL ACTION FILE NO.:
l :I 8-cv-01982-TWT

Plain¢iffs,
v.

EMoRY HEATHCARE, rNC.,
EMoRY CLINIC, INC., EMoRY
UNIvERsITY, INC., JoHN vEGA,
M.D., JAsoN MUEssE, M.D.,
BARRY ANI)ERSON, P.A.,
KENNETH oniMGBE, RRT,
CHoREEN PoWELL, RN,
MANJU CHBI, RN, JoHN non
PHYSICIANS 1-3, JANE 1)0}3:
NURSES 1-3, JANET non
HEALTHCARE PRovIl)ERs 1-3;
xYZ CoRPoRATIoNS 1-3,

W\_/\_/\_/\./\_/\_/\_/W\_/\_/\_J\_/\_/\_/\_/WW\_/\_/\_/\_/

Defendants.

 

CERTIFICATE OF SERVICE
l certify that I have served a copy of the foregoing Amended Complaint by

United States Mail addressed to:

Case 1:18-CV-01982-TWT Document 4 Filed 05/17/18 Page 5 of 5

Hunter Allen, Jr.,

Allen & McCain, P.C.

Two Midtown Plaza, Suite 1700
1349 W. Peachtree Street NW
Atianta, GA 303 09

{`/
This ljday of May 2018

Gabriel Mendel, Esq.
Assistant U.S. Attorney

600 United States Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 303 03

/s/ Jane Marv Lamberti
Jane Mary Lamberti, Esq.
Georgia Bar Number 432025

